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                                                     UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF COLUMBIA


                                        )
ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of  )
herself and others similarly situated,  )
                                        )
               Plaintiffs,              )
                                        )
        v.                              )                             Civil Action No. 17-cv-02122 (TSC)
                                        )
ALEX M. AZAR II, et al.,                )
                                        )
               Defendants.              )
                                        )


                                                AMENDED CLASS CERTIFICATION AND
                                                 PRELIMINARY INJUNCTION ORDER
              For the reasons set forth in the accompanying Memorandum Opinion, the court hereby

GRANTS Plaintiffs’ Motion for Class Certification (ECF No. 18) and Plaintiffs’ Motion for a

Preliminary Injunction (ECF No. 5) as to the class.1 The relevant class is defined as all pregnant,

unaccompanied immigrant minor children (UCs) who are or will be in the legal custody of the

federal government. Jane Doe and Jane Roe are designated as class representatives. The attorneys

who have appeared on behalf of Plaintiffs are designated as class counsel.

              It is hereby ORDERED that Defendants Alex M. Azar II, Eric Hargan, Steven Wagner,

and Scott Lloyd (along with their respective successors in office, officers, agents, servants,

employees, attorneys, and anyone acting in concert with them) are:




                                                            
1
  Based on the parties’ more recent filings, the court has altered the caption of this case to reflect
the confirmation of Mr. Alex M. Azar II as Secretary of Health and Human Services.
                                                                  1
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      (1) Enjoined from interfering with or obstructing any class member’s access to: (1) a

         judicial bypass, (2) medical appointments related to pregnancy dating, (3) non-directive

         options counseling, (4) abortion counseling, (5) an abortion, or (6) other pregnancy-

         related care;

      (2) Enjoined from forcing any class member to reveal the fact of their pregnancies and/or

         their abortion decisions to anyone, and from revealing that fact or those decisions to

         anyone themselves, either before or after an abortion, unless the class member provides

         non-coerced consent to such disclosure or needs emergency medical care and is

         incapacitated such that she is unable to inform a medical care provider herself;

      (3) Enjoined from retaliating against any class member based on her decision to have an

         abortion;

      (4) Enjoined from retaliating or threatening to retaliate against contractors that operate the

         shelters where class members currently reside for any actions that those contractors or

         shelters have taken or may take in facilitating class members’ ability to access

         pregnancy and abortion-related medical care and/or an abortion.


Date: April 16, 2018


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge         
 

 

 

 

                                        


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